          Case 2:20-cv-00722-GEKP Document 3 Filed 05/19/20 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                    rOR THT' EASTERN DISTRICT OF PENNSYLYAII-IA

IN RE WAWA,INC.
DATA SECURITY LITIGATION                                               CIVIT ACTION




                                                                       No. 19-6019
                                                                       and all related eases



        ANDNow,iln,&yofMay,,*ffo.,*nsiderationoftheCourt,sintenttoconduct
oral argument on the appointment of lead counsel on June ll'-2AZA at 10:30 a.m., and discuss

preliminary scheduling and procedural matters in this litigation, it is ORIIERED that:

   l)   Defendants shall file a response to the Amended Stipulated Consensus Application to

        Appoint Interim Co-Lead Class Counsel on behalf of all Financial Institution Plaintiffs

        (Doc. No. 105) by June 3,2020.

   2) Counsel    are expected to familiarize themselves with the Manual for Complex Litigation,

        and be prepared at the hearing to suggest procedures that     will facilitate the expeditious,

        economical, and just resolution of this litigation. Counsel shall be prepared to address the

        filing of consolidated class action complaint(s) and   schedules   for initial motion practice

        and discovery. By June 3, 2O2O, all parties shall   file a joint submission setting forth their

        proposals on these matters.

   3) All filings   made pursuant to this Order shall be filed on the lead case docket,   Civil Action

        No. 19-6019.
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       It is ORIIERED that the Clerk of Court shall place this Order on the dockets of all related
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aetions marleed with the   Civil Acrion flag   "19-6019-GEKP."
                                                    BY THE COURT:




                                                      rvrrru   Srlrrs Drsmrcr JuocB
